Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 1 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 2 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 3 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 4 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 5 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 6 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 7 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 8 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 9 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 10 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 11 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 12 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 13 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 14 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 15 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 16 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 17 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 18 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 19 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 20 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 21 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 22 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 23 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 24 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 25 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 26 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 27 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 28 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 29 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 30 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 31 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 32 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 33 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 34 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 35 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 36 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 37 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 38 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 39 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 40 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 41 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 42 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 43 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 44 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 45 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 46 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 47 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 48 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 49 of 50
Case 09-15000   Doc 132   Filed 05/19/10 Entered 05/19/10 16:50:54   Desc Main
                          Document      Page 50 of 50
